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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA                                  mi3t
                                                                                                      1\   (t
                                       Alexandria Division


UNITED STATES OF AMERICA,
                                                      Case No: j , (gCPSS
               V.

                                                      UNDER SEAL
PAUL J. MANAFORT, JR.,


                    GOVERNMENT'S MOTION TO SEAL INDICTMENT
                             PURSUANT TO LOCAL RULE 49(B)


        The United States, by and through undersigned counsel, pursuant to Local Rule 49(B) of

the Local Criminal Rules for the United States District Court for the Eastern District of Virginia,

asks for an Order to Seal the indictment, until further motion of the United States.

L       REASONS FOR SEALING (Local Rule 49(B)(1))

        1.     The Special Counsel's Office is investigating Paul J. Manafort, Jr., and others for

for tax fraud, failure to file foreign bank account reports, bank fraud, and bank fraud conspiracy.

        2.     Premature disclosure of the charges against the defendant would jeopardize

ongoing plea discussions and the identity of a cooperating witness cited in the Indictment,

thereby prejudicing that witness prior to his entering a plea.

II.     REFERENCES TO GOVERNING CASE LAW (Local Rule 49(B)(2))

        3.     The Court has the inherent power to seal indictments. See United States v.

Wuagneux, 683 F.2d 1343, 1351 (11^^ Cir. 1982); State of Arizona v. Mavpennv. 672 F.2d 761,

765 (9^*^ Cir. 1982); Times Mirror Company v. United States. 873 F.2d 1210 (9*^ Cir. 1989); see
also Shea v. Gabriel, 520 F.2d 879      Cir. 1975); United States v. Hubbard. 650 F.2d 293 (D.C.

Cir. 1980); Inre Braughton, 520 F.2d 765, 766 (9*^ Cir. 1975). The trial court has supervisory
power over its ownrecords andmay, in its discretion, seal documents if the public's right of

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access is outweighed by competing interests. In re Knight Pub. Co.. 743 F.2d 231, 235 (4'*^ Cir.

1984). Sealing the indictment is appropriate where there is a substantial probability that the

release of the sealed documents would compromise the government's on-going investigation.

See e.g. In re Search Warrant for Secretarial Area Outside Office of Gunn. 855 F.2d 569, 574

(8^*^ Cir. 1988); Matter of Eve Care Physicians of America. 100 F.3d 514, 518 (7'*' Cir. 1996);

Matter of Flower Aviation of Kansas. Inc., 789 F.Supp. 366 (D. Kan. 1992).

III.     PERIOD OF TIME GOVERNMENT SEEKS TO HAVE MATTER REMAIN
         UNDER SEAL (Local Rule 49(B)(3))

         4.     The indictment would need to remain sealed until ongoing plea negotiations have

concluded, at which time the United States will move to unseal the indictment, as sealing will no

longer be necessary. The United States anticipates that it will be able to move to unseal the

indictment by Friday, February 23,2018.

         6.     The United States has considered alternatives less drastic than sealing and has

found none that would suffice to protect this investigation and ongoing plea discussions.

         WHEREFORE, the United States respectfully requests that the indictment and this

Motion to Seal and proposed Order be sealed until further motion of the United States.

                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER III
                                                      Special Counsel




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                                                               Special Coi
                                                      Special Assistant Unitec    tes Attorney
